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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS JUL 18 2007
MIDLAND-ODESSA DIVISION
CLERK, U.S. DISTRICT COURT

UNITED STATES OF AMERICA WESTERN TR L an

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VS. / ) CR. NO. tol? CR WG mene
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MOTION TO DETAIN

COMES NOW the United States of America by and through the United States Attorney for the
Western District of Texas and moves the Court to detain the above named Defendant without bail and for
cause would show the following:

( ) The Defendant is charged with a crime of violence;

( a The Defendant is charged with an offense for which a maximum term of imprisonment of
ten years or more is prescribed in the controlled Substances Act (21 USC 801 et seq.), or the
Controlled Substances Import and Export Act (21 USC 951 et. seq.);

(_) The Defendant is charged with a felony offense and has been convicted of two or more prior
felonies, each of which is a crime of violence; or an offense for which a maximum term of
imprisonment of ten years or more is prescribed in the controlled Substances Act (21 USC
801 et seq.), the Controlled Substances Import and Export Act (21 USC 951 et. seq.).

( ) The Defendant is charged with an offense that involves a minor victim; or involves the

possession or use of a firearm, destructive device, or any other dangerous weapon; or
involves a failure to register under Title 18, United States Code, Section 2250;

(-* A serious risk exists that the Defendant will obstruct or attempt to obstruct justice, or
threaten, injure, or intimidate or attempt to threaten, injure, or intimidate a prospective
witness or juror;

( xX A serious risk exists that the accused will flee; and/or

The Government request that a hearing of this motion be conducted:

( ) Immediately;

(2) After a continuance of three (3) days at the request of the Government;

WHEREFORE, premises considered, the United States prays that the Court conduct a hearing to
determine whether the Defendant(s) should be detained without bail pending trial, and, further the
Government prays that the Defendant(s) be detained without bail pending trial.

Respectfully submitted,

JOHNNY SUTTON
UNITED STATES A

   
